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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION


TAMER ZAID,                                       §
                     Plaintiff,                   §      CIVIL ACTION NO.
                                                  §      4-18-cv-1130
                                                  §
v.                                                §
                                                  §
                                                  §
SMART FINANCIAL CREDIT UNION,                     §
             Defendant.                           §


                 PLAINTIFF’S FIRST AMENDED COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW Plaintiff Tamer Zaid (“Plaintiff”), who files this civil action

against Defendant Smart Financial Credit Union (“Defendant”), and for the cause of

action to follow respectfully alleges and states as follows:

                             NATURE OF THE ACTION

       1.     This is an action for violations of the Americans with Disabilities Act of

1990 (“ADA”), 42 U.S.C. § 12181 et seq. Specifically, Plaintiff alleges that Defendant

has violated, and continues to violate, the ADA by constructing and maintaining a

commercial website, www.smartcu.org, that is not accessible to the blind and

visually-impaired who, like Plaintiff, have attempted to access smartcu.org.

                           JURISDICTION AND VENUE

       2.     This Court has subject matter jurisdiction of this action pursuant to 28

U.S.C. § 1331 and 42 U.S.C. § 12188, for Plaintiff’s claims arising under the Americans
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with Disabilities Act of 1990 (“ADA”), 42 U.S.C. § 12181 et seq.

       3.     Venue is proper in this jurisdiction pursuant to 28 U.S.C. § 1391(b)(1)-

(3) because Defendant’s principal place of business is located in Houston, Texas, in

this District and in the Houston Division of this District, and because a substantial

part of the events or omissions giving rise to Plaintiff’s claim occurred in this District.

                                     THE PARTIES

       4.     Plaintiff is a resident of the portion of the city of Friendswood, Texas,

which is located in Harris County, Texas. As a resident of Harris County, Texas,

Plaintiff is eligible to be a member of Defendant. Specifically, Defendant’s website

states that residents of Harris County, Texas are eligible for membership in

Defendant’s credit union.         See https://www.smartcu.org/i-want-to/become-a-

member (stating that “People who live, work, or attend school in Brazoria, Fort Bend,

Harris or Montgomery Counties, Texas” are “individuals” “approved for membership

at Smart Financial Credit Union”).

       5.     Plaintiff is permanently blind and uses a screen reader in order to

access the internet and read website content, and thus qualifies as an individual with

disability as defined by the Americans With Disabilities Act (“ADA”), 42 U.S.C. §

12102(2), 28 C.F.R. 36.104. Despite several attempts to use and navigate Defendant’s

website, smartcu.org, in order to join Defendant and open accounts at Defendant,

Plaintiff was denied the full use and enjoyment of the facilities, services, privileges,


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advantages, and accommodations of smartcu.org as a result of accessibility barriers

on smartcu.org. The access barriers on smartcu.org caused a denial of Plaintiff’s full

and equal access multiple times. Similarly, the access barriers on smartcu.org have

deterred Plaintiff from using Defendant’s online services, privileges, advantages, and

accommodations and likewise visiting Defendant’s credit union locations.

      6.     Plaintiff is informed and believes, and thereon alleges, that Defendant is

a credit union with its principal place of business located in Houston, Texas. Plaintiff

is informed and believes, and thereon alleges, that Defendant owns and operates

credit union locations in Texas. The credit union locations constitute places of public

accommodation. Defendant’s locations provide to the public important goods and/or

services, privileges, advantages, and accommodations. Defendant also provides to

the public the smartcu.org website. Smartcu.org provides access to Defendant’s array

of services, privileges, advantages, and accommodations, including, but not limited

to, a locator for Defendant’s locations so that a potential customer may determine

from the website the location for him or her to visit, descriptions of its types of

banking services and accounts, online banking and bill pay services, loan information

and documents including ranges of interest rates offered, location service hours,

information about joining Defendant and opening an account online that may be

accessed in Defendant’s branch locations, other pages that enable users to determine

Defendant’s products and services, privileges, advantages, and accommodations, and


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many other benefits related to Defendant’s facilities and services, privileges,

advantages, and accommodations. Defendant’s locations are public accommodations

within the definition of Title III of the Americans with Disabilities Act of 1990

(“ADA”), 42 U.S.C. § 12181(7). Based on the information, services, tools, and locators

related to Defendant’s locations provided on Defendant’s website, smartcu.org is a

service, privilege, advantage, and accommodation of Defendant’s locations.

Additionally, based thereon, smartcu.org is a service, privilege, advantage, and

accommodation that is heavily integrated with these locations.

      7.     At all times relevant to the Complaint, Defendant was acting through its

agents, servants and/or employees.


                           FACTUAL BACKGROUND

              A.     Applicability of the ADA to Commercial Websites

      8.     The internet has become a significant source of information, a portal

and tool for conducting business, and a means for doing everyday activities such as

shopping, banking, etc. for both the sighted and blind, and/or visually-impaired

persons.

      9.     Blind individuals may access websites by using keyboards in

conjunction with screen-reading software that vocalizes visual information on a

computer screen. Screen access software provides the only method by which a blind

person may independently access the internet. Unless websites are designed to be

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read by screen reading software, blind persons are unable to fully access websites and

the information, products and services, privileges, advantages, and accommodations

contained thereon.

       10.    The international website standards organization, W3C, has published

version 2.0 of the Web Content Accessibility Guidelines (“WCAG 2.0”). WCAG 2.0

are well-established guidelines for ensuring websites are accessible to blind and

visually-impaired people. These guidelines are successfully followed by numerous

large business entities to ensure their websites are accessible.     These guidelines

recommend several basic components for making websites accessible including, but

not limited to:    adding invisible alternative text to graphics; ensuring that all

functions can be performed using a keyboard and not just a mouse; ensuring that

image maps are accessible; and adding headings so that blind people can easily

navigate websites. Without these very basic components, a website will be

inaccessible to a blind or visually-impaired person using a screen reader.

       11.    Within this context, numerous federal courts have recognized the

viability of ADA claims against commercial website owners/operators with regard to

the accessibility of such websites.

B.      The Inaccessibility of Defendant’s Website to the Visually-Impaired

       12.    Defendant offers the commercial website, smartcu.org, which provides,

as set forth above, a breadth of information concerning the location it operates,

information and descriptions of its amenities and services, privileges, advantages,

and accommodations, and allows users to find the location for them to visit. Robles
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v. Yum! Brands, Inc., Case No 2:16-cv-08211-ODW(SS), 2018 WL 566781, at *8 (C.D.

Cal. Jan. 24, 2018) (denying defendant’s motion for summary judgment), Rios v.

New York & Co., Inc., No. 2:17-cv-04676-ODW(AGRx), 2017 WL 5564530, at *7

(C.D. Cal. Nov. 16, 2017) (denying defendant’s motion for judgment on the

pleadings); Access Now, Inc. v. Blue Apron, LLC, No. 17-cv-116-JL, 2017 WL

5186354, at *11 (D.N.H. Nov. 8, 2017) (Laplante, C.J.) (denying motion to dismiss);

Andrews v. Blick Art Materials, LLC, 268 F. Supp. 3d 381, 404 (E.D.N.Y. 2017)

(Weinstein, J.) (denying motion to dismiss); Gil v. Winn-Dixie Stores, Inc., 257 F.

Supp. 3d 1340, 1349 (S.D. Fla. 2017) (finding that the defendant, a large supermarket

chain, had violated the plaintiff’s rights under the ADA by failing to maintain an

accessible website after a non-jury trial).

       13.     Based on information and belief, it is Defendant’s policy and practice to

deny blind users, including Plaintiff, equal enjoyment of and access to smartcu.org.

Due to Defendant’s failure and refusal to remove access barriers on smartcu.org,

Plaintiff and other blind and visually impaired individuals have been denied equal

enjoyment of and access to Defendant’s locations and to the other services,

advantages, privileges, and accommodations offered to the public through

smartcu.org.

       14.     Defendant denies blind individuals equal enjoyment of and access to

the services, privileges, advantages, and accommodations and information made

available through smartcu.org by preventing them from freely navigating

smartcu.org. Smartcu.org contains access barriers that prevent the full and equal
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enjoyment and use by Plaintiff and other blind persons using screen reading

software.

      15.    Smartcu.org’s barriers are pervasive and include, but are not limited to,

the following:

      (1) Missing alternative text, which presents a problem because an image

without alternative text results in an empty link. Alternative Text is invisible code

embedded beneath a graphical image on a website. Web accessibility requires that

Alternative Text be coded with each picture so that a screen reader can speak the

Alternative Text where a sighted user sees pictures. Alternative Text does not change

the visual presentation, but instead a text box will pop-up when the mouse moves

over the picture. The lack of Alternative Text on these graphics prevents screen

readers from accurately vocalizing a description of the graphics. As a result, visually-

impaired Smart Financial Credit Union customers are unable to determine what is on

the website, browse the site, look for Defendant’s locations, check out Defendant’s

amenities, and/or determine which location to visit;

      (2) Redundant Links where adjacent links go to the same URL address which

results in additional navigation and repetition for keyboard and screen reader users;

and

      (3) Redundant title text, which means that title attribute text is the same as

text or alternative text. This is a problem because the title attribute value is used to

provide advisory information. It typically appears when the users hovers the mouse

over an element. The advisory information presented should not be identical to or
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very similar to the element text or alternative text.

       16.    Due to the inaccessibility of smartcu.org, blind and otherwise visually

impaired customers who use screen readers are hindered from effectively browsing

for Defendant’s locations, amenities and services, privileges, advantages, and

accommodations that exist online unlike sighted users.           If smartcu.org were

accessible, Plaintiff would independently and privately investigate Defendant’s

services, privileges, advantages, and accommodations and amenities, and find the

locations to visit via Defendant’s website as sighted individuals can and do.

       17.    Despite several attempts to use smartcu.org in recent months, the

numerous access barriers contained on Defendant’s website have denied Plaintiff’s

full and equal access, and have deterred Plaintiff on a regular basis from accessing

Defendant’s website. Similarly, based on the numerous access barriers contained on

smartcu.org, Plaintiff was deterred from visiting Defendant’s physical locations that

Plaintiff would have located and visited by using smartcu.org.

                                 CAUSE OF ACTION

              Violations of the Americans With Disabilities Act,
                           42 U.S.C. § 12181 et seq.

       18.    Plaintiff incorporates by this reference the allegations contained in

paragraphs 1 through 17 as if fully set forth herein.

       19.    Section 302(a) of Title III of the ADA, 42 U.S.C. § 12181 et seq.,

provides: “No individual shall be discriminated against on the basis of disability in

the full and equal enjoyment of the goods, services, facilities, privileges, advantages,

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or accommodations of any place of public accommodation by any person who owns,

leases (or leases to), or operates a place of public accommodation.” 42 U.S.C. §

12182(a).

      20.    Under Section 302(b)(2) of Title III of the ADA, unlawful

discrimination also includes, among other things: “a failure to make reasonable

modifications in policies, practices, or procedures, when such modifications are

necessary to afford such goods, services, facilities, privileges, advantages, or

accommodations to individuals with disabilities, unless the entity can demonstrate

that making such modifications would fundamentally alter the nature of such goods,

services, facilities, privileges, advantages or accommodations”; and “a failure to take

such steps as may be necessary to ensure that no individual with a disability is

excluded, denied services, segregated or otherwise treated differently than other

individuals because of the absence of auxiliary aids and services, unless the entity can

demonstrate that taking such steps would fundamentally alter the nature of the good,

service, facility, privilege, advantage, or accommodation being offered or would result

in an undue burden”. 42 U.S.C. § 12182(b)(2)(A)(ii)-(iii). “A public accommodation

shall take those steps that may be necessary to ensure that no individual with a

disability is excluded, denied services, segregated or otherwise treated differently

than other individuals because of the absence of auxiliary aids and services, unless

the public accommodation can demonstrate that taking those steps would

fundamentally alter the nature of the goods, services, facilities, privileges,

advantages, or accommodations being offered or would result in an undue burden,
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i.e., significant difficulty or expense.” 28 C.F.R. § 36.303(a). In order to be effective,

auxiliary aids and services must be provided in accessible formats, in a timely

manner, and in such a way as to protect the privacy and independence of the

individual with a disability.” 28 C.F.R. § 36.303(c)(1)(ii). “The term ‘auxiliary aids

and services’ includes [] screen reader software.” 28 C.F.R. § 36.303(b)(2)

(emphasis added).

       21.    Defendant’s locations are “public accommodations” within the meaning

of 42 U.S.C. § 12181 et seq. Defendant generates millions of dollars in revenue from

the sale of its amenities and services, privileges, advantages, and accommodations in

Texas through its locations and related services, privileges, advantages, and

accommodations and smartcu.org. Smartcu.org is a service, privilege, advantage, and

accommodation provided by Defendant that is inaccessible to patrons, members, and

potential members who are visually-impaired like Plaintiff.          This inaccessibility

denies visually-impaired patrons full and equal enjoyment of and access to the

facilities and services, privileges, advantages, and accommodations that Defendant

made available to the non-disabled public through its website. Defendant violates the

Americans with Disabilities Act, 42 U.S.C. § 12181 et seq., in that Defendant denies

visually-impaired    customers      the    services,   privileges,    advantages,     and

accommodations provided by smartcu.org and connected to its places of public

accommodation. These violations are ongoing.

       22.    Defendant’s actions constitute discrimination against Plaintiff on the

basis of a disability in violation of the Americans with Disabilities Act, 42 U.S.C. §
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12181 et seq. in that: Defendant constructed a website that is inaccessible to Plaintiff;

has maintained the website in this inaccessible form; and has failed to take adequate

actions to correct these barriers even after being notified of the discrimination that

such barriers cause.

      23.     Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights

set forth and incorporated therein, Plaintiff requests relief as set forth below.

      24.     Plaintiff seeks recovery of her reasonable and necessary attorneys’ fees.

                             CONDITIONS PRECEDENT

      25.     To the extent necessary, Plaintiff has performed all conditions

precedent to bringing this lawsuit and all claims asserted herein as the law requires.

                                PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment as follows:

       1.     For a judgment that Defendant violated Plaintiff’s rights under the

Americans With Disabilities Act, 42 U.S.C. § 12181 et seq.;

       2.     For preliminary and permanent injunctive relief pursuant to 42 U.S.C. §

12188(a)(1) and (2), requiring Defendant to:

              a.       ensure that its website, smartcu.org, is easily accessible by

       individuals who are visually-impaired and who use computers, including

       laptops, tablets, and smartphones;

              b.       ensure that individuals who are visually-impaired have an equal

       opportunity to participate in and benefit from the goods, services, facilities,

       privileges, advantages, and accommodations provided through its website;
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          c.     adopt and implement website accessibility policies which ensure

   that its website is fully and equally accessible to the visually-impaired;

          d.     require any third party vendors who participate on its website

   ensure that it is fully and equally accessible to the visually-impaired;

          e.     make publicly available, and provide a direct link on the

   homepage of its website, to a statement of Accessibility Policy to ensure that

   the visually-impaired have full and equal enjoyment of its website;

          f.     provide quarterly mandatory website accessibility training to all

   employees who write or develop programs or code for, or who publish final

   content to, its website, as to how to conform all web content and services with

   criteria to ensure that the visually-impaired have full and equal enjoyment of

   its website; and

          g.     conduct quarterly automated accessibility test of its website to

   identify any instances where the website is no longer in conformance with

   criteria that ensures that the visually-impaired have full and equal enjoyment

   of its website;

   3.     For attorneys’ fees and expenses;




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      4.    For costs of suit; and

      5.    A judgment for all such other relief as the Court deems just and proper.


                                 Respectfully submitted,

                                 _/s/Scott J. Ferrell_____________________
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Dated: May 31, 2018




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